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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al., *
Plaintiffs, *
Civil Action No. 8:25-cv-0095 1-PX
v. *
KRISTI NOEM, Secretary,

United States Department
of Homeland Security, et a/.,

Defendants,
*

*k*

ORDER

The Court has reviewed ECF No. 108, the Motion to Intervene and Unseal Court Records,

and ECF No. 112, the Joint Motion for Discovery Conference. The Court hereby orders:

1.

Parties’ responses to the Motion to Intervene (ECF No. 108) are due by Tuesday, May 20,
2025. Any replies shall be filed by Tuesday, May 27, 2025.

The Court requires formal briefing of the Defendants’ invocations of privilege, principally
the state secrets and deliberative process privileges, as discussed in ECF No. 112.
Accordingly, by Monday May 12, 2025, the parties shall submit simultaneous briefs, not
to exceed 25 pages exclusive of exhibits, addressing the legal and factual bases for the
invocation of those privileges, including Plaintiff's request for the Court to conduct in
camera review of the withheld documents. On the same date, Defendants shall provide the
privilege log discussed in ECF No. 112 to the Court.

The Court will holdan"in-person hearing on, Friday, May 16, 2025, at 1:00 PM in the

United States District Court for the District of Maryland, Greenbelt Division, Courtroom

2C, to address solely the matters raised in ECF No. 112 and the parties’ supplemental
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briefing.

4. Pending resolution of matters raised in ECF No. 112, the Court suspends the previously
imposed deadline for the Plaintiffs’ supplement to their motion at ECF No. 62 and
Defendants’ response. The Court will reset those deadlines on or after the May 16 hearing.

5. Lastly, as this litigation proceeds, the Court emphasizes the importance of transparency
and adherence to procedural rules governing sealed filings. These standards apply equally
to letter submissions and formal briefs. While provisional sealing was permitted in the
early stages of this case to accommodate its expedited nature and to safeguard sensitive
information, the parties must now strictly comply with the Court’s Local Rules governing
sealed filings. Under Local Rule 105.11 (D. Md.), any proposed sealed document must be
accompanied by a motion to seal. The motion to seal must include: (1) proposed reasons
supported by specific factual representations that justify sealing, and (2) an explanation of
why alternatives to sealing, such as redaction, would be inadequate. See Sky Angel U.S.,
LLC v. Discovery Commce'ns, LLC, 28 F. Supp. 3d 465, 488 (D. Md. 2014). These
requirements reflect the presumption of public access to judicial records, which may be
overcome only with a compelling justification. See Stone v. Univ. of Md. Med. Sys. Corp.,
855 F.2d 178, 180 (4th Cir. 1988). Going forward, any filing submitted under seal without
a compliant motion to seal will be stricken. As to the most recent filing at ECF No. 112,
the proponent of sealing must file the motion to seal by not later than Friday, May 9, 2025,
or the Court will unseal the document.

SO ORDERED.

May 7, 2025
Date Paula Xinis *

United States District Judge
